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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Brian R. Martinotti
y Criminal No. 20-418
18 U.S.C. § 2422(a)
JOSE TORRES

INDICTMENT

The Grand Jury in and for the District of New Jersey, sitting at

Newark, charges:

COUNT ONE
(Coercion and Enticement)

In or around May 2015, in Middlesex County, in the District of
New Jersey and elsewhere, the defendant,
JOSE TORRES,
did knowingly persuade, induce, entice, and coerce an individual, namely
Victim-1, to travel in interstate commerce, from the State of New York to the
District of New Jersey, to engage in prostitution and in any sexual activity for
which a person can be charged with a criminal offense; and attempted to do so.

In violation of Title 18, United States Code, Section 2422(a).

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COUNT TWO
(Coercion and Enticement)

In or around October 2019, in Middlesex County, in the District of
New Jersey and elsewhere, the defendant,
JOSE TORRES,
did knowingly persuade, induce, entice, and coerce an individual, namely
Victim-2, to travel in foreign commerce, from Canada to the District of New
Jersey, to engage in prostitution and in any sexual activity for which a person
can be charged with a criminal offense; and attempted to do so.

In violation of Title 18, United States Code, Section 2422(a).
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COUNT THREE
(Coercion and Enticement)

In or around May 2018, in Middlesex County, in the District of
New Jersey and elsewhere, the defendant,
JOSE TORRES,
did knowingly persuade, induce, entice, and coerce an individual, namely
Victim-3, to travel in interstate commerce, from the State of New York to the
District of New Jersey, to engage in prostitution and in any sexual activity for
which a person can be charged with a criminal offense; and attempted to do so.

In violation of Title 18, United States Code, Section 2422(a).
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FORFEITURE ALLEGATIONS

1. The allegations contained in Counts One, Two and Three of this
Indictment are hereby realleged and incorporated by reference for the purpose
of alleging forfeitures pursuant to Title 18, United States Code, Section 2428.

2. Pursuant to Title 18, United States Code, Section 2428,
upon conviction of an offense in violation of Title 18, United States Code,
Section 2422, the defendant,

JOSE TORRES,
shall forfeit to the United States of America any property, real or personal, that
was used or intended to be used to commit or to facilitate the commission of
the offenses and any property, real or personal, constituting or derived from
any proceeds obtained, directly or indirectly, as a result of the offenses.

The United States will also seek a forfeiture money judgment
against the defendant in the amount equal to the value of any property, real or
personal, that constitutes, or is derived from or is traceable to the proceeds
obtained directly or indirectly from these offenses, and the gross proceeds of
these offenses, and any property traceable to such proceeds.

SUBSTITUTE ASSETS PROVISION

3. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the court;

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d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute
property pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c).
A TRUE BILL

FOREPERSON

oO

CRAIG CARPENITO
United States Attorney

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